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                                 UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

     JOANNE KIMBROUGH and WILLIE J.
     KIMBROUGH, SR.,

                                    Plaintiffs,

     -vs-                                                       Case No. 6:05-cv-471-Orl-31DAB

     CITY OF COCOA,, WILLIAM
     GREGORY, WALTER BAKER,
     TERRENCE A. GLOVER, MICHAEL J.
     BADARACK, ANNA COX, RICHARD
     GREGG, II, OFFICER DOBSON, JACK
     PARKER, BREVARD COUNTY, PRISON
     HEALTH SERVICES, INC., AILEEN
     NORGELL, BEVERLY WOOD, SANDY
     LATIER,
                             Defendants.
     _______________________________________


                            ORDER OF DISMISSAL WITH PREJUDICE

            Upon consideration of the Stipulations of Dismissal with Prejudice (Doc. No. 784, 785,

     and 786), and pursuant to Fed. R. Civ. P. 41(a), it is hereby

            ORDERED that this case is dismissed with prejudice, each party to bear its own fees and

     costs. Any pending motions are DENIED as moot. This case is removed from the trial calendar

     for October 1, 2007, and the Clerk is directed to close this file.

            DONE and ORDERED in Chambers in Orlando, Florida on September 27, 2007.




     Copies furnished to:

     Counsel of Record
     Unrepresented Party
